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                         UNITED STATES DISTRICT COURT

                                 DISTRICT OF MAINE



ALICE BAINTON,                   )
                                 )
Plaintiff                        )
                                 )
v.                               ) CIVIL NO. 1:13-cv-159-GZS
                                 )
VERTERANS ADMINISTRATION MEDICAL )
CENTER,                          )
                                 )
                                 )
Defendant




                                   JUDGMENT

      In accordance with the Order Affirming the Recommended Decision of the

Magistrate Judge issued on March 27, 2014 by U.S. District Judge, George Z. Singal;

JUDGMENT is hereby entered in favor of the Defendant, Veterans Administration Medical

Center and against the Plaintiff, Alice Bainton. The Complaint if hereby dismissed.



Dated at Portland, Maine, this 28th day of March, 2014.


                                               CHRISTA K. BERRY
                                               CLERK



                                        By: /s/ Lindsey Caron
                                               Lindsey Caron
                                               Deputy Clerk
